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                                    EXHIBIT A

                             Corporate Structure Chart




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                                                                                                                                                              Bermuda
                                                                      Vesttoo - Holding Structure                                                             Israel & Other
                                                                                                                                                              Israeli Limited Partnerships
                                                                                     as of August 1, 2023                                                     United States

                                                                                                                                                                                  Appleby Global
                                                                                            Vesttoo Ltd. (Israel)                                                                Services Holding
                                                                                                                                                                                       Ltd.*


                                                                                                                                                                                           Trustee



                                                                                                                                                                                                                                                           LP
                                                                                                                                                                                   Vesttoo Alpha
                       Vesttoo Hong Kong      Vesttoo Holdings Ltd.                                                                   Vesttoo Marketplace      Vesttoo Alpha
  Vesttoo Malta Ltd.                                                   Vesttoo Korea Inc.     Vesttoo UK LTD        Vesttoo US Inc.                                               Special Purpose                                 LP
                            Limited                  (Israel)                                                                                 Ltd.             Holdings Ltd.
                                                                                                                                                                                       Trust
                                                                                                                                                                                                                                                 Vescor Bay GP, L.P.

                                                         GP

                                                                                                                                                                                                               GP                                          GP
                                       Vesttoo Bay One Limited Partnership
                                        Vesttoo Bay X, Limited Partnership
    Vesttoo Malta                       Vesttoo Bay XI, Limited Partnership                 Vesttoo Japan Co.,       Vesttoo SPV      Vesttoo Bermudian     Vesttoo Alpha P&C      Vesttoo Alpha                    Vesttoo Partners 101, L.P.
                                                                                                                                                                                                                                                  Vescor Bay, L.P.
     Trading Ltd.                       Vesttoo Bay XII, Limited Partnership                       LTD               Holdings LLC          Bay Ltd.               Ltd. [C]*        Manager Ltd.                     Vesttoo Partners 102, L.P.
                                       Vesttoo Bay XIII, Limited Partnership                                                                                                                                        Vesttoo Partners 103, L.P.
                                       Vesttoo Bay XIV, Limited Partnership                                                                                                                                         Vesttoo Partners 104, L.P.
                                    Vesttoo Bay FIFTEEN, Limited Partnership                                                                                                                                        Vesttoo Partners 105, L.P.
                                                                                                                                                                                          GP         LP
                                       Vesttoo Bay XVI, Limited Partnership
                                       Vesttoo Bay XVII, Limited Partnership
                                                                                                                                                                                                                    GP
                                      Vesttoo Bay XVIII, Limited Partnership                Vesttoo Reinsurance
                                                                                                                     Vesttoo Asset     Vesttoo Securities                        Vesttoo Alpha P&C
                                       Vesttoo Bay XIX, Limited Partnership                     Intermediary                                                Vesttoo RT SPV LLC
                                                                                                                    Management LLC        (USA) LLC                                Fund GP, L.P.
                                       Vesttoo Bay XX, Limited Partnership                     Services Inc.
                                       Vesttoo Bay XXI, Limited Partnership                                                                                                                               LP
                                       Vesttoo Bay XXII, Limited Partnership
                                                                                                                                                                                          GP
                                      Vesttoo Bay XXIII, Limited Partnership
                                      Vesttoo Bay XXIV, Limited Partnership
                                       Vesttoo Bay XXV, Limited Partnership
                                  Vesttoo Bay One Hundred, Limited Partnership                                                                                                   Vesttoo Alpha P&C
                                Vesttoo Bay One Hundred One, Limited Partnership                                                                                                      Fund L.P.
                                Vesttoo Bay One Hundred Two, Limited Partnership
                                       Vesttoo Bay 103, Limited Partnership




* non-Debtor entity
